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                              UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA
                 Plaintiff
v.                                                   Case Number 8:10CR158-007

                                                     USM Number 23506-047

ROSS PRY
                       Defendant
                                                     JAMES M. DAVIS

                                                     Defendant’s Attorney
___________________________________

                               JUDGMENT IN A CRIMINAL CASE
                     (For Offenses Committed On or After November 1, 1987)

THE DEFENDANT pleaded guilty to count I of the Information on September 4, 2012.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense(s):

                                                          Date Offense               Count
          Title, Section & Nature of Offense               Concluded               Number(s)


 21:846 CONSPIRACY TO DISTRIBUTE LESS THAN                April 12, 2010              1sss
 50 KILOGRAMS OF MARIJUANA

The defendant is sentenced as provided in pages 2 through 8 of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984.

The Indictment, Superseding Indictment, and Second Superseding Indictment are dismissed on the
motion of the United States as to this defendant only.

The defendant shall cooperate in the collection of DNA, pursuant to Public Law 108-405 (Revised
DNA Collection Requirements under the Justice for All Act of 2004).

IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30
days of any change of name, residence, or mailing address until all fines, restitution, costs and
special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
defendant shall notify the court and United States attorney of any material change in the
defendant’s economic circumstances.

                                                                   Date of Imposition of Sentence:
                                                                                January 10, 2013

                                                                        s/ Lyle E. Strom
                                                               Senior United States District Judge

                                                                           January 10, 2013
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                             ACKNOWLEDGMENT OF RECEIPT

I hereby acknowledge receipt of a copy of this judgment this ____ day of ____________, ______

                                                            _____________________________
                                                                    Signature of Defendant

                                           RETURN

It is hereby acknowledged that the defendant was delivered on the ____ day of _______________,
_____ to _________________________________, with a certified copy of this judgment.

                                                      __________________________________
                                                             UNITED STATES WARDEN

                                                   By:__________________________________

NOTE: The following certificate must also be completed if the defendant has not signed the
Acknowledgment of Receipt, above.

                                        CERTIFICATE

It is hereby certified that a copy of this judgment was served upon the defendant this ____ day of
_______________, ______

                                                      __________________________________
                                                             UNITED STATES WARDEN


                                                   By:__________________________________
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                                            PROBATION

The defendant is hereby sentenced to probation for a term of two (2) Years.

The defendant shall not commit another federal, state, or local crime.

The defendant shall not illegally possess a controlled substance.

For offenses committed on or after September 13, 1994:

The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall
submit to one drug test within 15 days of release from imprisonment and at least two period drug
tests thereafter.

The defendant shall not possess a firearm, destructive device, or any other dangerous weapon.

        If this judgment imposes a fine or a restitution obligation, it shall be a condition of probation
that the defendant pay any such fine or restitution in accordance with the Schedule of Payments
set forth in the Criminal Monetary Penalties sheet of this judgment.

        The defendant shall comply with the standard conditions that have been adopted by this
court (set forth below). The defendant shall also comply with any additional conditions.

                             STANDARD CONDITIONS OF SUPERVISION

1.       the defendant shall not leave the judicial district without the permission of the court or
         probation officer;
2.       the defendant shall report to the probation officer and shall submit a truthful and complete
         written report within the first five days of each month;
3.       the defendant shall answer truthfully all inquiries by the probation officer and follow the
         instructions of the probation officer;
4.       the defendant shall support his or her dependents and meet other family responsibilities;
5.       the defendant shall work regularly at a lawful occupation, unless excused by the probation
         officer for schooling, training, or other acceptable reasons;
6.       the defendant shall notify the probation officer at least ten days prior to any change in
         residence or employment;
7.       the defendant shall refrain from excessive use of alcohol and shall not purchase, possess,
         use, distribute, or administer any controlled substance or any paraphernalia related to any
         controlled substances, except as prescribed by a physician;
8.       the defendant shall not frequent places where controlled substances are illegally sold, used,
         distributed, or administered;
9.       the defendant shall not associate with any persons engaged in criminal activity and shall
         not associate with any person convicted of a felony, unless granted permission to do so by
         the probation officer;
10.      the defendant shall permit a probation officer to visit him or her at any time at home or
         elsewhere and shall permit confiscation of any contraband observed in plain view of the
         probation officer;
11.      the defendant shall notify the probation officer within seventy-two hours of being arrested
         or questioned by a law enforcement officer;
12.      the defendant shall not enter into any agreement to act as an informer or a special agent
         of a law enforcement agency without the permission of the court;
13.      as directed by the probation officer, the defendant shall notify third parties of risks that may
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         be occasioned by the defendant’s criminal record or personal history or characteristics and
         shall permit the probation officer to make such notifications and to confirm the defendant’s
         compliance with such notification requirement.



                             SPECIAL CONDITIONS OF SUPERVISION


1.       The defendant shall cooperate in the collection of DNA as directed by the probation officer,
         pursuant to the Public Law 108-405 (Revised DNA Collection Requirements Under the
         Justice for All Act of 2004), if such sample was not collected during imprisonment.

2.       Pursuant to 18 U.S.C. § 3583 (d), the defendant shall submit to a drug test within fifteen
         (15) days of release on supervised release and at least two (2) periodic drug tests thereafter
         to determine whether the defendant is using a controlled substance. Further, the defendant
         shall submit to such testing as requested by any probation officer to detect the presence of
         alcohol or controlled substances in the defendant’s body fluids and to determine whether
         the defendant has used any of those substances. Based on the defendant’s ability to pay,
         the defendant shall pay for the collection of urine samples to be tested for the presence of
         alcohol and/or controlled substances in an amount to be determined by the probation
         officer.

3.       The defendant shall be monitored by Radio Frequency (RF) Monitoring for a period of 6
         months and shall abide by all technology requirements. The participant shall pay the costs
         of participation in the location monitoring program as directed by the court and the probation
         officer. This form of location monitoring technology shall be utilized to monitor the following
         restriction on the defendant’s movement in the community as well as other court-imposed
         conditions of release:

         You are restricted to your residence at all times except for employment; education; religious
         services; medical, substance abuse, or mental health treatment; attorney visits; court
         appearances; court-ordered obligations; or other activities as pre-approved by the officer
         (Home Detention).

4.       Paragraph # 7 of the Standard Conditions of supervision is modified, i.e., instead of merely
         refraining from excessive use of alcohol, the defendant shall not purchase or possess, use,
         distribute, or administer any alcohol, just the same as any other narcotic or controlled
         substance.

5.       The defendant shall submit his or her person, residence, office, or vehicle to a search
         conducted by a United States Probation Officer at any time; failure to submit to a search
         may be grounds for revocation; the defendant shall warn any other residents that the
         premises may be subject to searches pursuant to this condition.

6.       The defendant shall attend, pay for and successfully complete any diagnostic evaluations,
         treatment or counseling programs, or approved support groups (e.g., AA/NA) for alcohol
         and/or controlled substance abuse, as directed by the probation officer.

7.       The defendant shall attend, successfully complete, and pay for any mental health diagnostic
         evaluations and treatment or counseling programs as directed by the probation officer.
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8.       The defendant shall provide the probation officer with access to any requested financial
         information.

9.       The defendant shall attend, successfully complete, and pay for an approved cognitive-
         behavioral based program as directed by the probation officer.

10.      The defendant shall report to the Supervision Unit of the U.S. Probation Office for the
         District of Nebraska between the hours of 8:00 a.m. and 4:30 p.m., 111 South 18th Plaza,
         Suite C79, Omaha, Nebraska, (402) 661-7555, within seventy-two (72) hours of sentencing
         and, thereafter, as directed by the probation officer.
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                             CRIMINAL MONETARY PENALTIES


       The defendant shall pay the following total criminal monetary penalties in accordance with
the schedule of payments set forth in this judgment.

        Total Assessment                    Total Fine                 Total Restitution
               $100.00



The Court has determined that the defendant does not have the ability to pay interest and it is
ordered that:

         interest requirement is waived.



                                              FINE

         No fine imposed.

                                           RESTITUTION

         No restitution was ordered.
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                                 SCHEDULE OF PAYMENTS


The defendant shall pay the special assessment in the amount of $100.00 on or before January
11, 2013. If not paid, the defendant shall pay 25% of his prison earnings or other funds which
become available to him toward payment of the special assessment. This amount shall be
deducted from the defendant’s prison earnings or other funds available to defendant during his
incarceration. Any remaining unpaid balance of the special assessment shall be paid within fifteen
(15) days of defendant’s release.

The criminal monetary penalty is due in full on the date of the judgment. The defendant is obligated
to pay said sum immediately if he or she has the capacity to do so. The United States of America
may institute civil collection proceedings at any time to satisfy all or any portion of the criminal
monetary penalty.

Without limiting the foregoing, and during the defendant’s term of incarceration, the defendant shall
participate in the Bureau of Prisons’ Financial Inmate Responsibility Program. Using such Program,
the defendant shall pay 50% of the available inmate institutional funds per quarter towards the
criminal monetary penalty.

Without limiting the foregoing the defendant shall make payments to satisfy the criminal monetary
penalty in the following manner: (a) monthly installments of $100 or 3% of the defendant’s gross
income, whichever is greater; (b) the first payment shall commence 30 days following sentencing,
and continue until the criminal monetary penalty is paid in full; and (c) the defendant shall be
responsible for providing proof of payment to the probation officer as directed.

Any payments made on the outstanding criminal monetary penalty shall be applied in the following
order of priority: special assessment; restitution; fine; and other penalties. Unless otherwise
specifically ordered, all criminal monetary penalty payments, except those payments made through
the Federal Bureau of Prisons’ Inmate Financial Responsibility Program, shall be made to the clerk
of the Court. Unless otherwise specifically ordered, interest shall not accrue on the criminal
monetary penalty.

All financial penalty payments are to be made to the Clerk of Court for the District of Nebraska, 111
S. 18th Plaza, Suite 1152, Omaha, NE 68102-1322.

The defendant shall receive credit for all payments previously made toward any criminal monetary
penalties imposed.

The defendant shall inform the probation officer of any change in his or her economic
circumstances affecting the ability to make monthly installments, or increase the monthly payment
amount, as ordered by the court.

The defendant is restrained from transferring any real or personal property, unless it is necessary
to liquidate and apply the proceeds of such property as full or partial payment of the criminal
monetary penalty.
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CLERK’S OFFICE USE ONLY:

ECF DOCUMENT

I hereby attest and certify this is a printed copy of a
document which was electronically filed with the
United States District Court for the District of Nebraska.

Date Filed:__________________________________

DENISE M. LUCKS, CLERK

By ______________________________________Deputy Clerk
